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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


 ASTELLAS PHARMA US, INC.,                               Civil Action No. 1:23-cv-4578

        Plaintiff,                                            Hon. Elaine E. Bucklo

 v.                                                  JOINT MOTION TO SET BRIEFING
                                                    SCHEDULE ON CROSS MOTIONS FOR
 DEPARTMENT OF HEALTH AND                             SUMMARY JUDGMENT AND FOR
 HUMAN SERVICES, et al.,                             OTHER MISCELLANEOUS RELIEF

        Defendants.


       Plaintiff Astellas Pharma US, Inc. (“Astellas”) and Defendants respectfully ask the Court

(a) to enter the below briefing schedule to govern the Parties’ cross-motions for summary judgment

in the above-captioned matter, (b) for leave to file oversized briefing as set forth below, (c) to

waive the requirements of Local Rule 56.1 regarding statements of undisputed material facts, (d)

to waive the requirement to file a Rule 26(f) planning report, (e) to waive the obligation of

Defendants to file an answer to the Complaint, and (f) to vacate the scheduling conference set for

October 30, 2023.

       1.      This is an action for declaratory and injunctive relief involving the “Drug Price

Negotiation Program,” which was established under the Inflation Reduction Act. Specifically,

Astellas has asserted that the Drug Price Negotiation Program is unconstitutional because it

violates the Takings Clause, Due Process Clause, and First Amendment.

       2.      This action was filed on July 14, 2023, and the Parties’ Rule 26(f) planning report

is due October 23, 2023. [ECF No. 10] Defendants have not yet responded to the Complaint.

       3.      Counsel for the Parties have conferred and both parties intend to move for summary

judgment without seeking discovery.

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       4.       The Parties have agreed upon the following proposed briefing schedule:

               Astellas’s motion for summary judgment due September 20, 2023.

               Defendants’ opposition and cross-motion due November 20, 2023.

               Astellas’s reply motion and opposition to cross-motion due December 22, 2023.

               Defendants’ reply in support of cross-motion due January 30, 2024.

       5.       Given the complexity of the issues presented, the Parties seek leave to file oversized

briefing in excess of the Court’s standard page limits, as set forth below:

               Astellas’s motion for summary judgment: 40 pages.

               Defendants’ opposition and cross-motion: 50 pages.

               Astellas’s reply motion and opposition to cross-motion: 40 pages.

               Defendants’ reply in support of cross-motion: 30 pages.

       6.       Given the Parties’ agreement to file cross-motions for summary judgment without

discovery, the Parties request that the Court waive the requirement of a Rule 26(f) report.

       7.       Because this case concerns the constitutionality of a federal statute, the Parties also

respectfully request that the Court waive the requirements of Local Rule 56.1 relating to statements

of material facts and related responses and replies.

       8.       Because the Parties will be filing cross-motions for summary judgment, the Parties

agree that Defendants’ obligation to file an answer to the Complaint should be waived.

       9.       Because the Parties have reached agreement on a summary-judgment briefing

schedule, they also respectfully request that the Court vacate the scheduling conference set for

October 30, 2023. [ECF No. 10 (Minute Entry (July 28, 2023))]

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       WHEREFORE, the Parties respectfully request that the Court enter an order for the relief

described above.

   Dated: August 25, 2023

  /s/ Stephen M. Pezzi ________                     /s/ Paul Olszowka

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